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 1 WILKINSON STEKLOFF LLP              COVINGTON & BURLING LLP
   Brian L. Stekloff (pro hac vice)    Michael X. Imbroscio (pro hac vice)
 2 (bstekloff@wilkinsonstekloff.com)   (mimbroscio@cov.com)
 3 Rakesh Kilaru (pro hac vice)        One City Center
   (rkilaru@wilkinsonstekloff.com)     850 10th St. NW
 4 2001 M St. NW                       Washington, DC 20001
   10th Floor                          Tel: 202-662-6000
 5 Washington, DC 20036
 6 Tel: 202-847-4030                   BRYAN CAVE LEIGHTON PAISNER LLP
   Fax: 202-847-4005                   K. Lee Marshall (CA Bar No. 277092)
 7                                     (klmarshall@bclplaw.com)
   HOLLINGSWORTH LLP                   Three Embarcadero Center, 7th Floor
 8 Eric G. Lasker (pro hac vice)       San Francisco, CA 94111
   (elasker@hollingsworthllp.com)      Tel: 415-675-3400
 9 1350 I St. NW                       Fax: 415-675-3434
10 Washington, DC 20005
   Tel: 202-898-5843                   Jed P. White (CA Bar No. 232339)
11 Fax: 202-682-1639                   (jed.white@bclplaw.com)
                                       Linda C. Hsu (CA Bar No. 239880)
12                                     (linda.hsu@bclplaw.com)
13                                     120 Broadway, Suite 300
                                       Santa Monica, CA 90401
14                                     Tel: 310-576-2100
                                       Fax: 310-576-2200
15 Attorneys for Defendant Monsanto
   Company
16
17
                       UNITED STATES DISTRICT COURT
18
                    NORTHERN DISTRICT OF CALIFORNIA
19
   IN RE: ROUNDUP PRODUCTS                 MDL No. 2741
20 LIABILITY LITIGATION,
                                           Case No. 3:16-md-02741-VC
21
   Angelo Bulone v. Monsanto Company,      DEFENDANT MONSANTO COMPANY’S
22 3:20-cv-03719-VC                        MOTION TO EXCLUDE THE
23                                         TESTIMONY OF DR. LUOPING ZHANG

24                                         Hearing:
25                                         To be scheduled by the Court, if necessary.
26                                         (Dkt. No. 17955.)

27
28

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 1           Defendant Monsanto Company (“Monsanto”), by and through its counsel, respectfully
 2   submits this Motion to Exclude the Testimony of Dr. Luoping Zhang, Ph.D.
 3                              INTRODUCTION AND BACKGROUND
 4           In the more than four decades since Roundup was first introduced, regulators around the
 5   world have repeatedly assessed the safety of glyphosate, the active ingredient in Roundup, and have
 6   consistently concluded that it does not cause cancer. This long history of safety approvals continues
 7   to this day.
 8           Nonetheless, Plaintiff asserts that Roundup can cause non-Hodgkin’s lymphoma (“NHL”).
 9   Plaintiff relies on the results-driven testimony of Dr. Luoping Zhang, Ph.D 1 . Dr. Zhang is a
10   biochemist and a professor emeritus of toxicology at the University of California, Berkeley. She has
11   been designated “in the areas of molecular mechanisms of chemical toxicity, molecular
12   epidemiology and biomarkers, along with her meta-analysis on glyphosate and Non-Hodgkin
13   Lymphoma.” Ex. A, Plaintiff’s Disclosure of Expert Witnesses and Declaration at 5. Plaintiff
14   indicates Dr. Zhang will testify “as to the association between cumulative exposures to glyphosate-
15   based herbicides and an increased risk of non-Hodgkin lymphoma in humans” and “the results of
16   her 2019 meta-analysis.” Id. at 5-6.
17           Based on her previous testimony and Plaintiff’s Disclosure of Expert Witnesses and
18   Declaration, Dr. Zhang seeks to offer testimony based on two papers she co-authored in 20192 and
19   20203 regarding exposure to glyphosate-based herbicides (“GBHs”) and risk of NHL, and regarding
20   an EPA report in 2016. However, the EPA examined her 2019 Paper and found serious
21   methodological flaws within her meta-analysis. Dr. Zhang responded to the EPA’s criticism with
22

23   1
       As a threshold matter, Federal Rule of Civil Procedure 26(a)(2) requires parties to disclose each
     of their expert witnesses and to accompany those expert disclosures with a written expert report.
24   Because Plaintiff has not complied with Rule 26 by providing Dr. Zhang’s expert report,
     Monsanto reserves its prior arguments that the Court should preclude Dr. Zhang from testifying at
25
     trial. Dkt. Nos. 17474, 17527, 17955. Goodman v. Staples The Office Superstore, LLC, 644 F.3d
26   817 (9th Cir. 2011).
     2
       See Ex. B, Zhang, et. al., Exposure to glyphosate-based herbicides and risk for non-Hodgkin
27   lymphoma: A meta-analysis and supporting evidence (2019) (the “2019 Paper”).
     3
       See Ex. C, Zhang, et. al., Weeding out inaccurate information on glyphosate-based herbicides and
28   risk of non-Hodgkin lymphoma (2020) (the “2020 Paper”).
                                                       1
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 1   her 2020 Paper, which conceded the extremely limited understanding of development of NHL
 2   associated with glyphosate exposure. Plainly, Dr. Zhang’s opinions fail to reflect the level of
 3   scientific rigor required for admissible expert testimony under federal law, and her opinions should
 4   be excluded.
 5          Additionally, Dr. Zhang opines only that glyphosate can cause NHL, without addressing
 6   chronic lymphocytic leukemia, Mr. Bulone’s sub-type of NHL. But NHL covers or contains more
 7   than sixty (60) distinct subtypes of cancer, each of which may have a different cause. Thus, Dr.
 8   Zhang’s opinions do not fit the facts of the case and should be excluded under the “fit” requirement
 9   of Federal Rule 702 and the standard established in Daubert v. Merrell Dow Pharm., Inc., 509 U.S.
10   579 (1993) and its progeny. If the Court finds that Dr. Zhang’s testimony is admissible despite her
11   testimony being unreliable and not meeting Daubert’s “fit” requirement, then her testimony should
12   be limited to discussion of her 2019 Paper, 2020 Paper and the 2016 EPA final report because she
13   has not disclosed any other testimony.
14                                          LEGAL STANDARD
15          Fed. R. Evid. 702 reflects the standards set out in Daubert v. Merrell Dow Pharms., Inc.,
16   509 U.S. 579 (1993) for the admission of expert testimony. Id. Accordingly, under Rule 702, an
17   expert who is qualified “by knowledge, skill, experience, training, or education” may testify in the
18   form of an opinion if the proponent demonstrates to the court that it is more likely than not that: “(a)
19   the expert’s scientific, technical, or other specialized knowledge will help the trier of fact to
20   understand the evidence or to determine a fact in issue; (b) the testimony is based on sufficient facts
21   or data; (c) the testimony is the product of reliable principals and methods; and (d) the expert’s
22   opinion reflects a reliable application of the principles and methods to the facts of the case.” Fed.
23   R. Evid. 702. The trial court must act as a gatekeeper to “ensure that any and all scientific testimony
24   or evidence admitted is not only relevant, but reliable.” Daubert, 509 U.S. at 589. Expert opinion
25   testimony “is reliable if the knowledge underlying it has a reliable basis in the knowledge and
26   experience of the relevant discipline.” Primiano v. Cook, 598 F.3d 558, 565 (9th Cir. 2010), as
27   amended (Apr. 27, 2010). “[A]n expert’s scientific conclusions must be supported by ‘good grounds
28   for each step in the analysis,’ meaning that ‘any step that renders the analysis unreliable under the
                                                       2
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 1   Daubert factors renders the expert’s testimony inadmissible.’” Persian Gulf Inc. v. BP W. Coast
 2   Prod. LLC, 632 F. Supp. 3d 1108, 1164–65 (S.D. Cal. 2022) (quoting In re Paoli R.R. Yard PCB
 3   Litig., 35 F.3d 717, 744 (3d Cir. 1994)).
                                                 ARGUMENT
 4

 5          I.      The Court Should Exclude Dr. Zhang’s Testimony Because Her Opinions are
                    Unreliable and Do Not Meet Daubert’s “Fit” Requirement.
 6
                    A.      The Court Should Exclude Dr. Zhang’s Testimony Because It is Based on
 7                          Debunked Science.

 8          Dr. Zhang should be excluded in this case from offering testimony based on her research

 9   included in her 2019 Paper and 2020 Paper because it has been debunked by the EPA. In 2019, she

10   was a co-author of a meta-analysis which purported to examine whether GBH exposure increases

11   the risk of developing NHL. Zhang’s 2019 Paper, which reported on the meta-analysis, found:

12   “GBH exposure is associated with increased risk of NHL in humans. . . . However, given the

13   heterogeneity between the studies included, the numerical risk estimates should be interpreted with

14   caution.” See Ex. B, Zhang, et. al., Exposure to glyphosate-based herbicides and risk for non-

15   Hodgkin lymphoma: A meta-analysis and supporting evidence (2019) at 204. In January 2020, the

16   EPA evaluated Zhang’s 2019 meta-analysis and found serious methodological flaws therein.

17   Specifically, the EPA found that Dr. Zhang and her co-authors did not use “appropriate methods to

18   perform their meta-analyses” because they “did not include an ever/never estimate” and instead only

19   compared patients with higher NHL exposure levels to those with lower NHL exposure levels.

20   See Ex. D, EPA 1/6/2020 Memo. at 12-13. The EPA concluded that a properly conducted meta-

21   analysis would have found “lower and non-statistically significant meta-estimates.” Id. at 12.

22   Therefore, the EPA concluded that Zhang’s 2019 Paper did not change its assessment of

23   glyphosate’s carcinogenicity, and the EPA maintained its assessment that glyphosate is “not likely

24   to be carcinogenic to humans.” Id. at 13. In other words, the EPA found that the 2019 meta-analysis

25   did not support general causation.

26          Following the EPA’s criticism of the 2019 Paper, Dr. Zhang co-authored a second paper in

27   December 2020. The 2020 Paper attempted to respond to the EPA’s and other academics’ criticisms

28   of the 2019 Paper and meta-analysis, but noted that “our current understanding of the risk of NHL
                                                     3
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 1   associated with widespread exposure to glyphosate is extremely limited.” Ex. C, Zhang, et. al.,
 2   Weeding out inaccurate information on glyphosate-based herbicides and risk of non-Hodgkin
 3   lymphoma (2020) at 3. (emphasis added). Because Dr. Zhang’s research has been debunked, and the
 4   research on which she relies admits that her understanding of the risk of NHL associated with
 5   glyphosate exposure is limited, her opinions should be excluded as being neither relevant nor
 6   reliable.
                     B.      The Court Should Exclude Dr. Zhang Because Her Testimony Does Not Meet
 7
                             Daubert’s “Fit” Requirement.
 8           To be admissible under Daubert, Dr. Zhang’s opinions must be relevant or “fit” the facts of
 9   the case. Daubert, 509 U.S. at 592. In other words, the expert testimony must “fit” the question the
10   jury must answer. Daubert v. Merrell Dow Pharmaceuticals, Inc. (Daubert II), 43 F.3d 1311, 1321
11   n.17 (9th Cir. 1995). This bar is cleared where the evidence “logically advances a material aspect of
12   the proposing party's case.” Messick v. Novartis Pharmaceuticals Corp., 747 F.3d 1193, 1196 (9th
13   Cir. 2014) (citation omitted). Among the factors determining “fit” are (1) whether the expert's theory
14   or method is generally accepted in the scientific community; (2) whether the expert's methodology
15   can be or has been tested; (3) the known or potential error rate of the technique; and (4) whether the
16   method has been subjected to peer review and publication. Daubert II at 1316 (citing Daubert I, 509
17   U.S. at 593-94, 113 S.Ct. 2786).
18           Thus, general causation testimony must address the specific injury of which the plaintiff
19   complains. See, e.g., Hardeman v. Monsanto Company, 997 F.3d 941 (9th Cir. 2021) (“To establish
20   general causation . . . experts needed to show that glyphosate can cause NHL at exposure levels
21   people realistically may have experienced.”); Hanford Nuclear Reservation Lit., 292 F.3d 1124 (9th
22   Cir. 2002) (explaining that the general causation inquiry is whether exposure to the challenged
23   substance “at the level of exposure alleged by the plaintiffs is capable of causing the alleged
24   injuries”); Avila v. Willits Environmental Remediation Trust, 633 F.3d 828 (9th Cir. 2011)
25   (“Plaintiffs must also establish that the substance at issue was capable of causing the injury alleged
26   (general causation) . . .”)
27

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 1          Here, Dr. Zhang’s opinions do not fit the facts of the case because her opinions do not
 2   address the specific sub-type of lymphoma that Mr. Bulone alleges he developed as a result of using
 3   Roundup. Dr. Zhang admits that her 2019 paper only provides an analysis of the alleged association
 4   between glyphosate and NHL in general and does not specifically address subtypes of NHL. See
 5   Ex. E, Armstrong Zhang Dep. (February 16, 2023) at 57:24-58:2 (“Q. With respect to glyphosate
 6   and [NHL], you’ve only looked at NHL overall, correct? A. Yes.”); see also id. at 76:18-77:19 (Dr.
 7   Zhang admitting that her 2019 Paper does not specifically look at the risk of DLBCL from
 8   glyphosate exposure); id. at 130:23-131:16 (Dr. Zhang admitting that NHL is a diverse group of
 9   blood cancer and that her analysis did not investigate any connections between specific NHL
10   subtypes and glyphosate). The Court should exclude her on these grounds because Dr. Zhang has
11   no opinions regarding whether Roundup can cause the specific sub-type of NHL that Mr. Bulone
12   claims he developed as a result of using Roundup.
13          II.     The Court Should Limit Dr. Zhang’s Opinions to Those Related to Her 2019
                    Paper, 2020 Paper and the 2016 EPA Final Report Because She Has Not
14                  Disclosed Any Other Opinions.
15          Should the Court decline to exclude Dr. Zhang’s general causation testimony in its entirety
16   based on the arguments above, she should be limited to discussing her 2019 Paper, 2020 Paper and
17   the 2016 EPA Final Report. As noted above, Plaintiff’s expert witness disclosure did not provide
18   specificity as to the opinions Dr. Zhang would offer at trial. See Ex. A, Plaintiff’s Disclosure of
19   Expert Witnesses and Declaration.
20          Dr. Zhang was not deposed in the instant matter, but has been deposed in other Roundup
21   cases. When asked specifically what opinions she intended to offer at trial, Dr. Zhang testified that
22   her opinions at trial would be limited to findings contained in her 2019 Paper:
23          Q. . . . Do you have a particular assignment as part of your role as an expert in this
            case?
24
            A. Yes.
25
            Q. And what is that assignment?
26
            A. It’s -- it’s cover the human studies. That’s what I --
27
            Q. Anything else?
28
                                                       5
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            A. I -- that’s -- that’s what I published, you know, our paper.
 1
            Q. Okay. So my understanding is, and correct me if I’m wrong, your assignment is
 2          to cover the human studies that you’ve published in your paper?
 3          A. Yeah.
 4          Q. Any other studies that are part of your assignment for this case?
 5          A. I think that’s the major assignment.
 6   Ex. E, Armstrong Zhang Dep. (February 16, 2023) at 13:13-14:3; see also id. at 51:3-25 (Dr. Zhang
 7   agreeing with Plaintiffs’ expert disclosure of her as offering “opinions on general causation
 8   consistent with her prior testimony in Roundup litigation”). Additionally, Dr. Zhang admits that she
 9   would be unable to tell the jury how the results of her meta-analysis would change given additional
10   data that has been produced since the publication of her 2019 Paper since she has not conducted that
11   analysis:
12          Q. Dr. Zhang, if I understand you correctly, without doing the analysis to determine
            how De Roos 2022 or any other studies published since your meta-analysis would
13          affect the results, you don’t know how they would affect the results, correct?
14          A. Exactly.
15          Q. Okay.
16          A. Exactly. But you also said if you include De Roos 2022, replace the Orsi 2009,
            then if the meta relative risk would be reduced. That’s your question.
17
            Q. I’m not the expert, Dr. Zhang.
18
            A. Yes. Then you ask me.
19
            Q. Yeah.
20
            A. If yes or no, and I told you I cannot say if -- if it’s going to be definitely decreased,
21          the meta relative risk. And I gave you example from, you know, AHS cohort, right.
22          Q. Okay. So you won’t --
23          A. Yeah.
24          Q. You won’t be able to tell the jury in this case how the results have changed since
            your meta-analysis without doing the analysis, correct?
25
            A. Yes. . . . That’s true.
26

27   Id. at 98:18-99:19. In the Armstrong case, Dr. Zhang also agreed that she would not provide any
28   testimony regarding specific causation in the prior matter. Id. at 46:7-12 (“Q. . . . [Y]our role in this
                                                       6
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 1   case is not to identify the specific cause in the individual, but rather, to provide the first part of that
 2   information that you said you need in order to do it, which is general causation, correct? A. I
 3   agree.”). She identified no other opinions.
 4           Here, Dr. Zhang did not produce an expert report and Plaintiff’s expert disclosure did not
 5   specify Dr. Zhang’s opinions, but instead only noted she would testify “in the areas of molecular
 6   mechanisms of chemical toxicity, molecular epidemiology and biomarkers, along with her meta-
 7   analysis on glyphosate and Non-Hodgkin Lymphoma.” Plaintiff indicates Dr. Zhang will testify “as
 8   to the association between cumulative exposures to glyphosate-based herbicides and an increased
 9   risk of non-Hodgkin lymphoma in humans” and “the results of her 2019 meta-analysis.” Therefore,
10   Dr. Zhang’s testimony at trial should be limited to her discussion of her 2019 Paper, her 2020 Paper
11   and the 2016 EPA Final Report. See Pickern v. Pier 1 Imports (U.S.), Inc., 457 F.3d 963, 969 n. 5
12   (9th Cir.2006) (a district court does not abuse its discretion by excluding expert testimony when the
13   expert's report was not disclosed by the scheduling deadline); Berman v. Knife River Corp., 687 F.
14   App'x 616, 617 (9th Cir. 2017) (expert opinion may be excluded at trial for including information
15   not disclosed during fact or expert discovery).
16                                                   CONCLUSION
17           For the reasons set forth above, the Court should grant Monsanto’s Motion to Exclude
18   Testimony of Dr. Luoping Zhang and exclude Dr. Zhang’s opinions in their entirety.
19

20   Dated: March 6, 2024                            Respectfully submitted,
21                                                   /s/ Linda C. Hsu
                                                     Linda C. Hsu
22
                                                     Attorney for Defendant Monsanto Company
23
                                        CERTIFICATE OF SERVICE
24
             I hereby certify that on March 6, 2024, I electronically filed the foregoing with the Clerk of
25
     the Court by using the CM/ECF system which will send a notice of electronic filing (NEF) to all
26
     counsel of record who are CM/ECF participants.
27
                                                     /s/ Linda C. Hsu
28                                                   Linda C. Hsu
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                                  TESTIMONY OF DR. LUOPING ZHANG
